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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

                          Civil Action No. 0:13-cv-61138-WJZ


  GARRY BATES, an individual; and
  RENAE BATES, an individual,
        Plaintiffs,
  v.
  WORLDPMX, INC., a Florida corporation;
  INVESTMENT QUALITY DIAMONDS, INC., a Florida corporation;
  SEAN MCCABE, an individual;
  AMERIFIRST TRADING CORP., a Florida corporation;
  C. LEO SMITH, an individual; and
  WORTH GROUP, INC., a Florida corporation,
        Defendants.
  ________________________________________________/
  ______________________________________________________________________________

    PLAINTIFFS’ CONSOLIDATED MEMORANDUM OF LAW IN OPPOSITION TO
           DEFENDANTS’ MOTIONS TO DISMISS AMENDED COMPLAINT
  ______________________________________________________________________________

                                              Respectfully submitted,

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          Plaintiffs, GARRY BATES, an individual; and RENAE BATES, an individual

  (collectively referred to as “Plaintiffs”), by and through undersigned counsel, hereby submit the

  following Memorandum of Law in Opposition to the motion filed by defendants WORLDPMX,

  INC., a Florida corporation (“WORLDPMX”); INVESTMENT QUALITY DIAMONDS, INC.,

  a Florida corporation (“IQD”); and SEAN McCABE, an individual (“McCABE”) (collectively

  “the WORLDPMX Defendants”) [DE 33]; and the motion filed by defendant WORTH GROUP,

  INC., a Florida corporation (“WORTH GROUP”) [DE 35], seeking dismissal of the Amended

  Complaint [DE 30].1 For the reasons set forth below, Defendants’ motions should be denied.2

  I.      FACTUAL BACKGROUND AND CASE OVERVIEW

          Defendants claim to sell physical commodities, including gold, silver, platinum,

  palladium, and diamonds, in off-exchange transactions to retail customers throughout the United

  States. [AC ¶ 5]. Bluntly stated – they do not. In presenting those products to customers such

  as Plaintiffs, Defendants make three highly material [mis]representations. Id. Defendants claim

  to: (1) sell and transfer to customers ownership of physical metals; (2) make loans to customers

  to purchase the physical metals; and (3) arrange for storage and store customers’ physical metals

  in independent depositories. Id. The reality of the situation is that this “business” is a sham.

  Defendants never possessed any precious metal, never held title to any precious metal, and never

  had any enforceable commitment to receive or direct delivery of precious metal. [AC ¶ 2].

          Plaintiffs invested $1,500,000 with DEFENDANTS; and almost instantaneously upon

  receipt of those funds, DEFENDANTS imposed upon Plaintiffs over $750,000 in fees, costs, and


  1
   The WORLDPMX Defendants’ motion also seeks to have certain factual allegations stricken from the Amended
  Complaint. That argument is addressed below in Section VI.
  2
    Paragraph references to Plaintiffs’ Amended Complaint are stated herein as “AC ¶ ___.” Page references to the
  WORLDPMX Defendants’ Motion to Strike and Motion to Dismiss are stated as “WORLDPMX at ___”, and page
  references to WORTH GROUP’s Motion to Dismiss are stated as “WORTH GROUP at ____.” Capitalized terms
  and abbreviations have the same scope and meaning as in the Second Amended Complaint.



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  commissions to invest their money in precious metals. [AC ¶ 4]. Defendants charged Plaintiffs

  a finance charge on a loan balance but never disbursed any loan funds to, for, or on behalf of

  Plaintiffs. [AC ¶ 2]. Defendants charged Plaintiffs a storage fee based on the total metal value

  of each transaction, even though Defendants never transferred, allocated, stored, or sold any

  physical metal to, for, or on behalf of Plaintiffs. Id. In short, Plaintiffs’ investment funds were

  surreptitiously taken from them for work that was never done and products that never existed.

  II.    STANDARD OF REVIEW

         “To survive a motion to dismiss, a Complaint must contain sufficient factual matter,

  accepted as true, ‘to state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 554, 570 (2007)). There

  is no requirement of probability, or of any detail -- just plausibility. Twombly did not adopt a

  heightened pleading standard, did not change the requirement that a complaint need only include

  a short and plain statement of the claim, did not alter the point that “detailed factual allegations

  are not required,” and did not change the rule that a complaint may proceed if it presents

  “enough facts to raise a reasonable expectation that discovery will reveal evidence” in support of

  the claim, even if the court believes that “actual proof of those facts is improbable, and that

  recovery is very remote and unlikely.” Id. at 555-556. All that Twombly/Iqbal did was move the

  bar from “conceivable” to “plausible” as to whether a claim for relief has been stated.

  III.   THE EXISTENCE OF A WRITTEN ACCOUNT AGREEMENT DOES
         NOTHING TO SHIELD DEFENDANTS FROM LIABILITY

         In their Motions to Dismiss, the WORLDPMX Defendants and WORTH GROUP both

  argue that the oral misrepresentations made to Plaintiffs cannot serve as the basis for actionable

  claims because, subsequent to the dates on which those oral misrepresentations were made,

  Plaintiffs entered into a written contract with the WORLDPMX Defendants (the “Account



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  Agreement”) that purportedly contradicts the oral misrepresentations. See, WORLDPMX at 4-

  14; WORTH GROUP at 9-11. DEFENDANTS’ position is misguided and misplaced, as the

  written statements on which DEFENDANTS rely are as fraudulent as the oral representations

  that preceded them. Moreover, even if the Account Agreement warrants any credibility, the

  terms of the document do not contradict the oral misrepresentations alleged in the Amended

  Complaint. Lastly, to the extent some terms in the Account Agreement purport to supply clarity

  to the relationship between Plaintiffs and DEFENDANTS, those terms are overwhelmingly

  insufficient in light of the many undisclosed facts and fees not addressed in the Account

  Agreement -- facts and fees that are purposely withheld from Plaintiffs as part of

  DEFENDANTS’ fraudulent scheme.

         A.      Despite What the Written Account Agreement Suggests, There Were Never
                 Any Actual Precious Metals or Any Legitimate Precious Metals Transactions

         The Account Agreement purports to establish the framework for a series of future

  transactions in which customers of DEFENDANTS purchase from or through DEFENDANTS

  certain precious metals, on a leveraged basis, that the DEFENDANTS would either deliver to the

  customers or store and safeguard for the customers at a designated location. The Amended

  Complaint alleges that those factual representations were outright lies in that:

                        DEFENDANTS never possessed any precious metal. [AC ¶¶ 5,
                         36, 52, 63, 65].

                        DEFENDANTS never held title to any precious metal and never
                         had any enforceable commitment to receive or direct delivery of
                         precious metal. [AC ¶¶ 5, 36, 63, 65].

                        DEFENDANTS charged Plaintiffs a finance charge on a loan
                         balance but never disbursed any loan funds to, for, or on behalf of
                         Plaintiffs. [AC ¶¶ 5, 37, 63].

                        DEFENDANTS charged Plaintiffs a storage fee based on the total
                         metal value of each transaction, even though DEFENDANTS



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                        never transferred, allocated, stored, or sold any physical metal to,
                        for, or on behalf of Plaintiffs. [AC ¶¶ 5, 36, 63, 65].

  The Amended Complaint further alleges that, through the use of documentation that falsely

  represents actions that never actually took place and things that never actually existed,

  “DEFENDANTS misrepresented to Plaintiffs that Plaintiffs bought, and DEFENDANTS had sold

  to them, precious metal, and that DEFENDANTS held the precious metal underlying Plaintiffs’

  purchases.” [AC ¶ 3]. The presence of a written Account Agreement does nothing to shield

  DEFENDANTS from liability for the claims asserted in the Amended Complaint, as the written

  agreement warrants no credibility and merely serves to perpetrate DEFENDANTS’ fraud. In

  essence, the written statements on which DEFENDANTS rely are as fraudulent as the oral

  representations that preceded them. The Amended Complaint clearly and repeatedly asserts that

  DEFENDANTS never held any precious metals for Plaintiffs, and the paperwork to which

  DEFENDANTS cite is all used as a cover-up to conceal the fact that there are no actual precious

  metals tied to these transactions.    To the extent those documents address potential future

  transactions, the documents serve to do nothing more than that -- they talk about illusory

  transactions for which the underlying metals exist only on paper but do not exist in the real

  world. The lack of actual metals, despite what any transactional paperwork says, is the fraud that

  underlies DEFENDANTS’ scheme and is the fraud for which DEFENDANTS should be held

  liable under the legal theories properly set forth in the Amended Complaint.

         B.      The Written Account Agreement Does Not Vary From the False Oral
                 Representations

         Even assuming arguendo that the Account Agreement is worthy of any credibility, that

  document does nothing to warrant dismissal of Plaintiffs’ claims in this matter. In the Amended

  Complaint, Plaintiffs allege DEFENDANTS verbally induced them with the following factual

  representations to get Plaintiffs to entrust DEFENDANTS with their funds:


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                        Plaintiffs were purchasing, and WORLDPMX was selling to
                         Plaintiffs, physical precious metals. [AC ¶ 23].

                        WORLDPMX would loan Plaintiffs the balance of the value of the
                         metals being purchased, above-and-beyond the percentage equity
                         deposit made by Plaintiffs. [AC ¶¶ 24, 35].

                        By going through with the transaction, Plaintiffs would be
                         purchasing, and WORLDPMX would sell to Plaintiffs, the total
                         quantity of physical metal. WORLDPMX would then transfer, in
                         Plaintiffs’ name, the total quantity of physical metal to a
                         depository to be segregated from all other purchased metals and
                         held there in Plaintiffs’ name. [AC ¶¶ 24, 44].

                        WORLDPMX would hold the physical precious metal underlying
                         Plaintiffs’ purchase at an independent depository on Plaintiffs’
                         behalf. [AC ¶¶ 34, 44].

                        Plaintiffs would receive title to the physical commodity after the
                         purchase. [AC ¶ 44].

         For DEFENDANTS to prevail on their argument, the written Account Agreement to

  which they cite would have to directly contradict Plaintiffs’ allegations. In other words, the

  Account Agreement would have to reveal that:

                        DEFENDANTS never actually bought for Plaintiffs any precious
                         metal.

                        DEFENDANTS never possessed any precious metal and never
                         transferred, allocated, stored, or sold any physical metal to, for, or
                         on behalf of Plaintiffs.

                        DEFENDANTS never held title to any precious metal and never
                         had any enforceable commitment to receive or direct delivery of
                         precious metal.

                        DEFENDANTS assessed finance charges for loan funds never
                         disbursed to Plaintiffs.

  The Account Agreement does not make any such representations. To the contrary, the written

  provisions to which DEFENDANTS cite essentially mirror, and do not contradict, the false oral

  representations made to Plaintiffs, to wit:




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                ALLEGED FALSE                           REPRESENTATION IN
              ORAL REPRESENTATION                  WRITTEN ACCOUNT AGREEMENT

        Plaintiffs were purchasing, and WORLDPMX sells to, and buys from
        WORLDPMX            was     selling   to customers, precious metals.
        Plaintiffs, physical precious metals.        [Section 4.2]

        WORLDPMX would hold the                  “Upon receipt of the required amount
        physical precious metal underlying       of good funds from Customer of the full
        Plaintiffs’ purchase at an independent   purchase price for the purchase of
        depository on Plaintiffs’ behalf.        precious metals, WPMX shall, as
                                                 agreed, . . . deliver the precious metals
                                                 . . . for the benefit of Customer to a
                                                 depository used by WPMX for the
                                                 purpose of safekeeping precious metals
                                                 (collectively referred to as a “Bank”).”
                                                      [Section 7.3]

        Plaintiffs would receive title to the “You agree that title to precious metals
        physical    commodity     after   the purchased by Customer shall pass to
        purchase.                             Customer, and that WORLDPMX shall
                                              be deemed to have delivered such
                                              precious metals to Customer, when
                                              such precious metals are allocated to
                                              Customer . . . . Upon delivery of
                                              precious metals to a Bank in the United
                                              States, Customer acquires title to an
                                              undivided share of the precious metals
                                              so held.”
                                                   [Section 7.4]

        WORLDPMX would loan Plaintiffs           “If you ask WORLDPMX to finance a
        the balance of the value of the metals   portion of any purchase, you promise
        being purchased, above-and-beyond        to pay to WORLDPMX . . . the sum of
        the percentage equity deposit made by    all outstanding advances (“loan
        Plaintiffs.                              balance”) made by WORLDPMX to or
                                                 for your benefit, together with interest
                                                 thereon from the dates of the respective
                                                 advances . . . . [A]ll advances by
                                                 WORLDPMX to you will be used for
                                                 the purchase of precious metals for
                                                 investment of for other commercial
                                                 purposes . . . .”
                                                      [Section 12.1]




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             In light of the foregoing, DEFENDANTS’ case law citations are inapposite to the matter

  at hand. While DEFENDANTS request dismissal of Plaintiffs’ claims by asserting “[Plaintiffs’]

  reliance upon oral statements which were at variance with the written documents were not

  reasonable as a matter of law,”3 the citations above show that there were no variances between

  the key oral statements made to Plaintiffs and the written representations expressed in the

  Account Agreement.

             C.      The Written Account Agreement Fails to Disclose Numerous Excessive Fees
                     and Expenses

             With regard to Plaintiffs’ allegations that DEFENDANTS charged Plaintiffs numerous

  fees and expenses that were never disclosed, DEFENDANTS cite to certain sections of the

  Account Agreement in which some fees and expenses are vaguely disclosed. See, WORLDPMX

  at 10-11; WORTH GROUP at 5-7 and 10. However, those scant provisions address only the

  disclosed charges, not the exorbitant undisclosed charges that form a vital basis of Plaintiffs’

  claims. As the Amended Complaint clearly states:

                        Notwithstanding the disclosures relating to investment risk,
                     fees, and expenses contained in the paperwork Plaintiffs were
                     required to sign in connection with opening an account with
                     WORLDPMX, there still remained many undisclosed facts that
                     were withheld from Plaintiffs that essentially render the written
                     disclosures utterly hollow, as the undisclosed facts are those that
                     render the investment in precious metals a colossal disaster for
                     investors such as Plaintiffs.

  See, AC ¶ 46 (emphasis added). See also, AC ¶ 60 (citing to “undisclosed mark-ups and mark-

  downs”), AC ¶ 63(d) (same), and AC ¶ 65(c) (same). Regardless of the presence of certain fee

  disclosures in the Account Agreement, those disclosures do nothing to undermine, negate, or

  require dismissal of Plaintiffs’ claims that the undisclosed fees and expenses are those that



  3
      Rosa v. Amoco Oil Co., 262 F. Supp. 2d 1364, 1368-69 (S.D. Fla. 2003) (emphasis added).



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  “render the investment in precious metals a colossal disaster for investors such as Plaintiffs.”

  As such, DEFENDANTS have not set forth a viable basis upon which to require dismissal of the

  claims Plaintiffs have asserted in their Amended Complaint.

  IV.    THE AMENDED COMPLAINT PROPERLY SETS FORTH PLAINTIFFS’
         CLAIMS OF FRAUD

         In their Motions to Dismiss, the WORLDPMX Defendants and WORTH GROUP both

  argue that Count III (“Fraudulent Inducement”) of the Amended Complaint does not properly set

  forth Plaintiffs’ claim of fraud -- the WORLDPMX Defendants arguing that Plaintiffs have not

  proffered enough evidentiary proof to support their claims, and WORTH GROUP arguing that

  the fraudulent acts underlying Count III are not set forth with sufficient particularity. See,

  WORLDPMX at 4-14; WORTH GROUP at 11-15. As demonstrated below, both arguments are

  erroneously placed; and there are no valid grounds upon which Count III should be dismissed.

         A.      A Motion to Dismiss is Designed to Examine Factual Allegations, Not Weigh
                 Evidence

         The WORLDPMX Defendants attack upon Count III -- which is limited solely to

  Plaintiffs’ purchase of precious gems and does not seek dismissal of any other portion of

  Plaintiffs’ claims as they relate to precious metals -- can be summarized thusly:

                     Plaintiffs allege that they were fraudulently induced to
                 purchase a rare red diamond and that it was not worth what they
                 paid for it. * * * In fact, to date Plaintiffs have not filed any
                 document that supports their claim that the diamond is not worth
                 the value they paid for it, thus they cannot support a claim that
                 they were fraudulent induced to buy the red diamond for less than
                 [its] true value. * * * Plaintiffs have failed to plead the requisite
                 elements of fraud in the inducement as it pertains to the red
                 diamond, and all allegations pertaining to same should be
                 dismissed.

         In setting forth their argument, the WORLDPMX Defendants appear to be confusing the

  legal standard applicable to a Motion to Dismiss with the standard applicable to a Motion for



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  Summary Judgment. On a Motion to Dismiss pursuant to Fed.R.Civ.P. 12(b)(6) -- like the one

  the WORLDPMX Defendants have presented to the Court -- the Court’s function is not to weigh

  the evidence that might be presented at a trial but merely to determine whether the complaint

  itself is legally sufficient.

                      The purpose of Rule 12(b)(6) is to allow a defendant to test
                   whether, as a matter of law, the plaintiff is entitled to legal relief
                   even if everything alleged in the complaint is true. The court
                   should not weigh the evidence, but merely “determine whether
                   the complaint itself is legally sufficient.” Dismissal of a
                   complaint should not be granted unless it appears beyond doubt
                   that the plaintiff can prove no set of facts in support of his claims
                   which would entitle him to relief.

  Nickell v. Pleskovich, 2008 U.S. Dist. LEXIS 117729, at *10 (N.D. Fla. Jan. 4, 2008) (citations

  omitted; emphasis added). By arguing that Plaintiffs “have not filed any document that supports

  their claim” and concluding that Plaintiffs “cannot support a claim that they were fraudulent

  induced to buy the red diamond for less than [its] true value,” the WORLDPMX Defendants are

  applying the wrong standard of review. Plaintiffs need not proffer, at this time, all evidence they

  might use at trial to support their claim. At this stage, all of Plaintiffs’ allegations -- and all

  reasonable inferences to be drawn therefrom -- must be accepted as true; and the Court can only

  dismiss Plaintiffs’ claim if it appears beyond a doubt that no set of facts can be presented to

  support Plaintiffs’ claims. As applied to the facts of this case, that would require the Court to

  determine at this time that it appears beyond a doubt that it would be impossible for Plaintiffs to

  prove the red diamond DEFENDANTS induced them to purchase was worth less than the price

  Plaintiffs paid for the diamond. The well-pleaded allegations of the Amended Complaint do not

  support such a conclusion, to wit:

                   Paragraph 68. For example, on or about April 18, 2013,
                       WORLDPMX induced Plaintiffs to invest $345,000 in a
                       precious stone that WORLDPMX described thusly:



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                         .31 carat Cut-Cornered Rectangular Modified
                         Brilliant Cut Fancy Red Diamond, Clarity SI2, GIA
                         Cert. # 2155160180

                 Paragraph 69. Upon information and belief, the value of the
                     diamond is nowhere near what Plaintiffs were induced to pay
                     for it. On information and belief, the diamond is worth
                     between $50,000 and $125,000.

                 Paragraph 70. On or about May 4, 2013, Plaintiffs were informed
                     that on or about May 3, 2013, their diamond had been shipped
                     to the GIA laboratory in New York City for re-certification.
                     Attached hereto as Exhibit “B” is an image of the Brinks
                     Global Services Pickup Manifest purporting to reflect
                     shipment of the diamond to GIA New York. The Pickup
                     Manifest patently states that only one piece of merchandise,
                     valued at $345,000, was in the package shipped. Moreover,
                     TALLO-WPMX told Plaintiffs that everything in the shipped
                     package belonged to Plaintiffs.

                                         *                 *         *

                 Paragraph 74. Unbeknownst to Plaintiffs at the time, and contrary
                     to the information provided to Plaintiffs and the information
                     contained in the shipping documentation, WORLDPMX, IQD,
                     and MCCABE had actually placed in the May 3, 2013
                     shipping package to GIA New York three diamonds, not one.
                     Notwithstanding the inclusion of two additional diamonds,
                     WORLDPMX, IQD, and MCCABE still stated the “carriage
                     value” of the package as being $345,000 -- the exact amount
                     of money Plaintiffs had paid for their diamond(s).
                     WORLDPMX, IQD, and MCCABE did this to fool Plaintiffs
                     into paying for three diamonds while only acknowledging
                     Plaintiffs’ ownership of one of the diamonds.

  Based on the foregoing facts alone, it is clear that since the “carriage value” of the package

  containing three diamonds was stated by the WORLDPMX Defendants to be $345,000.00, then

  no single diamond in that package could sensibly be worth $345,000.00. Thus, it cannot be said

  that it will be impossible for Plaintiffs to prove the red diamond was worth less than $345,000.00

  or that Plaintiffs were falsely induced into their purchase.




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         Moreover, the valuation of the diamond is clearly a question of fact which cannot be

  disposed of on a Motion to Dismiss. “[A]t the motion to dismiss stage, the Court must assume

  that the well-plead facts of the Complaint are true.” Rutkowski v. Daimler Chrysler Corp.-UAW

  Pension Plan, 2007 U.S. Dist. LEXIS 72416, at *7 (M.D. Fla. Sept. 27, 2007) (denying motion

  to dismiss and refusing to rule on any issues of fact until after the parties have engaged in

  discovery). Accepting as true all of the factual allegations in the Amended Complaint, the Court

  should rightly deny the WORLDPMX Defendants’ request for dismissal of Count III as it relates

  to Plaintiffs’ purchase of precious gems.

         B.      Worth Group’s Fraudulent Acts Are Specifically Pleaded

         WORTH GROUP attacks Count III of the Amended Complaint from a slightly different,

  but no more effective, angle than the one utilized by the WORLDPMX Defendants. According

  to WORTH GROUP, Plaintiffs have failed to state with particularity their claims of the

  fraudulent activity perpetrated by WORTH GROUP. In that regard, WORTH GROUP glosses

  over the very specific allegations contained within the Amended Complaint that demonstrate

  WORTH GROUP’s culpable actions, to wit:

                 Paragraph 18. WORTH GROUP never possessed any precious
                     metal, never held title to any precious metal, and never had
                     any enforceable commitment to receive or direct delivery of
                     precious metal on behalf of Plaintiffs. WORTH GROUP
                     charged Plaintiffs a finance charge on a loan balance but
                     never disbursed any loan funds to, for, or on behalf of
                     Plaintiffs. WORTH GROUP charged Plaintiffs a storage fee
                     based on the total metal value of each transaction, even
                     though WORTH GROUP never transferred, allocated, stored,
                     or sold any physical metal to, for, or on behalf of Plaintiffs.

                 Paragraph 19. WORTH GROUP, through false reports and
                     statements, specifically the trade confirmations, the trade lists,
                     the position lists, the accountant statements, and the notices of
                     allocation, misrepresented to Plaintiffs that Plaintiffs bought,
                     and that WORTH GROUP had sold to them, precious metal,



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                  and that WORTH GROUP held the precious metal underlying
                  Plaintiffs’ purchases.

              Paragraph 63(i). AMERIFIRST, SMITH, and WORTH GROUP
                  charged a fictitious finance charge on the loan balance but
                  never disbursed any loan funds to, for, or on behalf of
                  Plaintiffs.

              Paragraph 63(j). AMERIFIRST, SMITH, and WORTH GROUP
                  charged fictitious storage fees based on the total metal value
                  of each transaction, even though AMERIFIRST, SMITH, and
                  WORTH GROUP never transferred, allocated, stored, or sold
                  any physical metal to, for, or on behalf of Plaintiffs.

              Paragraph 63(k).      Each and every report and statement
                  prepared by AMERIFIRST, SMITH, and WORTH GROUP,
                  specifically the trade confirmations, the trade lists, the
                  position lists, the account statements, and the notices of
                  allocation, misrepresented to Plaintiffs that Plaintiffs bought,
                  and that AMERIFIRST and/or WORTH GROUP sold to
                  Plaintiffs, precious metal, and that depending on the
                  transaction, AMERIFIRST and/or WORTH GROUP held the
                  precious metal underlying Plaintiffs’ purchases.

                    i.       Through these false reports and statements,
                             specifically the trade lists and the account
                             statements, AMERIFIRST and WORTH GROUP
                             misrepresented to Plaintiffs that AMERIFIRST
                             and WORTH GROUP made loans to Plaintiffs to
                             enable Plaintiffs to purchase 80% balance of
                             metal;

                   ii.       The trade confirmations, trade lists, position
                             lists, account statements, and notices of
                             allocation    were     false  and     deceptive.
                             AMERIFIRST and WORTH GROUP, in near
                             identical fashion, never had possession of, title
                             to, or any enforceable commitment of precious
                             metal;

                  iii.       AMERIFIRST and WORTH GROUP could not
                             and did not actually transfer, allocate, or sell
                             any precious metal to Plaintiffs;

                   iv.       AMERIFIRST and WORTH GROUP charged
                             Plaintiffs a storage fee, even though no metal




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                                 was ever transferred, allocated, or sold to
                                 Plaintiffs; and

                       v.        AMERIFIRST and WORTH GROUP never made
                                 an actual loan to Plaintiffs. AMERIFIRST and
                                 WORTH GROUP never dispersed any actual
                                 loan funds to Plaintiffs. AMERIFIRST and
                                 WORTH GROUP charged Plaintiffs a finance
                                 fee, even though no loan was ever actually made
                                 to Plaintiffs.

  WORTH GROUP is alleged to have charged Plaintiffs fees and expenses for transactions that

  never took place. WORTH GROUP is alleged to have charged Plaintiffs fees and expenses for

  loans that were never actually made to Plaintiffs. Perhaps most egregiously, WORTH GROUP

  is alleged to have created and provided to Plaintiffs false written reports to mislead Plaintiffs into

  believing that Plaintiffs bought, and that WORTH GROUP had sold to them, precious metal, and

  that WORTH GROUP held the precious metal underlying Plaintiffs’ purchases.                     These

  allegations are specific and are pointed directly at WORTH GROUP. For WORTH GROUP to

  assert that the allegations are vague or somehow do not adequately inform it of what it is accused

  of having done wrong, WORTH GROUP falls well short of what it must proffer to warrant

  dismissal of Plaintiffs’ Amended Complaint.

  V.      THE AMENDED COMPLAINT PLEADS VIABLE CLAIMS                                        AGAINST
          INVESTMENT QUALITY DIAMONDS, INC. AND SEAN McCABE

          A.      Claims against Investment Quality Diamonds, Inc.

          The Amended Complaint asserts only one cause of action against IQD: Count IV (“Civil

  Conspiracy”). IQD argues that “[a]s IQD did not commit any of the underlying torts in this

  complaint, it could not have committed civil conspiracy to commit the tort.” See, WORLDPMX

  at 15. In presenting its position, though, IQD misstates or misunderstands the law applicable to

  Plaintiffs’ claim.




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                   In order to properly state a claim for civil conspiracy, a plaintiff
                must allege “‘(a) an agreement between two or more parties, (b) to
                do an unlawful act or to do a lawful act by unlawful means, (c) the
                doing of some overt act in pursuance of the conspiracy, and (d)
                damage to plaintiff as a result of the acts done under the
                conspiracy.’“ * * * Despite the requirement of an underlying
                tort or wrong, “[e]ach co-conspirator need not act to further a
                conspiracy; each ‘need only know of the scheme and assist in it
                in some way to be held responsible for all of the acts of his
                coconspirators.’“

  Johnson Law Group v. Elimadebt USA, LLC, 2010 U.S. Dist. LEXIS 51079, at *19-20 (S.D. Fla.

  May 24, 2010) (emphasis added). Even if IQD were not alleged to have committed the tort or

  statutory violation underlying the civil conspiracy, that point is immaterial. See, Pafumi v.

  Davidson, 2007 U.S. Dist. LEXIS 43138, at *4 (S.D. Fla. 2007) (finding it unnecessary for each

  defendant charged with conspiracy to be accused of making misrepresentations as long as at least

  one co-conspirator committed such an overt act). Plaintiffs have adequately pleaded their claim

  for civil conspiracy and have alleged that IQD knew of the scheme and assisted in some way.

  See, e.g., AC ¶ 11 (identifying IQD as an “alter ego” of Defendant McCabe, who knowingly

  used the corporate entity to further the fraudulent scheme), AC ¶ 72 (identifying IQD as a shell

  company created to deflect liability from McCabe and contribute to DEFENDANTS’ deceptive

  and fraudulent scheme), AC ¶ 74 (IQD knowingly stated the “carriage value” of the package

  shipped to GIA New York in such a manner as to, and with intent to, fool Plaintiffs into paying

  for three diamonds while only acknowledging Plaintiffs’ ownership of one of the diamonds), and

  AC ¶ 78 (identifying May 3, 2013 letter sent from IQD to GIA New York materially assisting in

  the fraud concerning Plaintiffs’ purchase of precious stone(s)).          Because Plaintiffs have

  adequately pleaded their claim against IQD, that claim should not be dismissed as requested by

  the WORLDPMX Defendants.




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             B.       Claims against Sean McCabe

             To defend himself against the claims asserted against him, McCABE asserts that Counts

  I, II, and III should be dismissed because the written Account Agreement adequately shields him

  from the oral misrepresentations that were made to Plaintiffs before they were forced to enter

  into the Account Agreement. As noted above, the Account Agreement actually mirrors the oral

  misrepresentations; it does not vary from those misrepresentations.                       Therefore, McCABE’s

  argument in that regard is fatally flawed; and his request for dismissal of Counts I, II, and III

  must be denied.

             In response to Count IV of the Amended Complaint (“Civil Conspiracy”), McCABE

  argues that he “could not have conspired with either [WORLDPMX] or IQD because he is the

  sole officer of each corporation” and that “the intracorporate conspiracy doctrine prevents

  conspiracy between the same corporate actors.”                      See, WORLDPMX at 15.               McCABE’s

  argument focuses so narrowly on himself that he fails to grasp the full context of Count IV.

  Though under the intracorporate conspiracy doctrine, “an agreement among the officers of a

  single corporation acting in their official capacity is not a conspiracy because a corporation

  cannot conspire with itself,”4 this is not an instance in which the alleged conspiracy is limited to

  just one corporation and its officers. Count IV of the Amended Complaint alleges that McCABE

  was part of a conspiracy not only with his own sham entities (WORLDPMX and IQD) but also

  with AMERIFIRST TRADING CORP., C. LEO SMITH, and WORTH GROUP -- two entities

  and an individual who have economic existences and interests completely separate from

  McCABE.           Because Plaintiffs’ Amended Complaint alleges a conspiracy between separate

  economic powers that were previously pursuing divergent goals -- i.e., separate economic actors


  4
      Tiftarea Shopper, Inc. v. Ga. Shopper, Inc., 786 F.2d 1115, 1118 (11th Cir. 1986).



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  pursuing separate economic interests -- the intracorporate conspiracy doctrine does not shield

  McCABE in this instance. See, e.g., Copperweld Corp. v. Independence Tube Corp., 467 U.S.

  752, 769 (1984); see also, St. Joseph’s Hosp. v. Hosp. Corp. of Am., 795 F.2d 948, 956 (11th Cir.

  1986) (finding a conspiracy existed between separate entities with separate economic interests

  because “the guiding principle is the requirement that there be more than one independent

  business entity involved in the combination or conspiracy.”). Therefore, McCABE’s request that

  the Court dismiss Count IV against him should be denied.

  VI.    THE WORLDPMX DEFENDANTS’ MOTION TO STRIKE SHOULD BE
         DENIED

         In what can be categorized as their most desperate response to the Amended Complaint,

  the WORLDPMX Defendants ask that the Court strike the factual allegations contained in

  Paragraphs 30 and 40 of the Amended Complaint. According to the WORLDPMX Defendants,

  those allegations “have no bearing on the allegations raised in this Amended Complaint” and are

  “entirely immaterial to this litigation.” What the WORLDPMX Defendants characterize as

  “irrelevant” and “immaterial to this litigation” is more accurately characterized as highly

  relevant, even if perhaps somewhat damning or embarrassing for the WORLDPMX Defendants’

  defense.   The allegations in question do not demonstrably prejudice the WORLDPMX

  Defendants in any way and do not warrant the Court striking them from the Amended

  Complaint. “A motion to strike should be granted only if the matter sought to be omitted has no

  possible relationship to the controversy, may confuse the issues, or otherwise prejudice a party.

  Because this standard is rarely met, motions to strike are generally disfavored by the Court and

  are often considered time wasters.” Vaughn v. City of Orlando, 2008 U.S. Dist. LEXIS 61526, at

  *6 (M.D. Fla. Aug. 12, 2008) (citations omitted). See also, Powell v. Carey Int'l, Inc., 2006 U.S.

  Dist. LEXIS 76025, at *4-5 (S.D. Fla. Oct. 19, 2006) (“[A] disputed question of fact cannot be



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  decided on a motion to strike and when there is no showing of prejudicial harm to the moving

  party, the courts generally are not willing to determine disputed and substantial questions of law.

  Under such circumstances, the court may properly defer action on the motion and leave the

  sufficiency of the allegations for determination on the merits.”).       As explained below, the

  WORLDPMX Defendants’ Motion to Strike is merely a “time waster” that should not be

  granted.

         A.      Paragraph 30

         Paragraph 30, which the WORLDPMX Defendants seek to have stricken as

  “impertinent” and “entirely immaterial to this litigation” asserts the following:

                 Paragraph 30. DEFENDANTS’ customers who purchase precious
                     metals, including Plaintiffs, see the equity in their precious
                     metals investments drained by fees and commissions that are
                     assessed at the inception of their transactions and by the
                     constant accumulation of interest charges on the leverage
                     portion of their accounts. The fees, commissions, and interest
                     charges negatively affect consumers’ ability to break-even or
                     profit on the precious metals investments. On information and
                     belief, most customers utilizing this investment vehicle lose
                     money. In a recent lawsuit brought in this district by the
                     United States Commodity Futures Trading Commission
                     against a similar set of inter-related corporate defendants
                     and individuals who were operating a precious metals
                     investment scheme, it was estimated by the court-appointed
                     Special Monitor and Corporate Manager that nearly 95% of
                     customers utilizing these types of investment vehicles lose
                     money.

  (Emphasis added to highlight the particular language the WORLDPMX Defendants seek to have

  stricken).

         It is hard to fathom how allegations of a Special Monitor and Corporate Manager

  appointed by this Court in a similar lawsuit “have no bearing on the allegations raised in this

  Amended Complaint” and are “entirely immaterial to this litigation” when the Special Monitor’s

  conclusions speak to the very type of investment vehicle that is the subject of this lawsuit. In


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  CFTC v. Hunter Wise Commodities, LLC, U.S. Dist. Ct. - S.D. Fla. - Case No. 9:12-cv-81311-

  DMM, Court-appointed Special Monitor Melanie E. Damian, Esq. was retained to investigate a

  precious metals fraudulent scheme nearly identical to the one set forth in Plaintiffs’ Amended

  Complaint.   In reviewing and reporting on the scheme and the relationship between the

  introducing brokerage firm, the principals behind that firm, and the clearing firms/back-office

  support personnel, the Special Monitor concluded that “Nearly all end-customers (or 93%)

  sustained trade-related losses on their investment.” See, CFTC v. Hunter Wise at DE 102. The

  structure and overall investment scheme in the Hunter Wise case is nearly identical to the

  scenario in the instant matter, and the broad conclusions the Special Monitor drew about

  precious metals investments are as applicable to the instant matter as they are in the CFTC v.

  Hunter Wise case.

         In Powell, supra, this Court addressed a matter in which a group of defendant sought to

  strike from an Amended Complaint certain references to parallel lawsuits involving the same

  industry, the same legal and factual issues and claims, and even the same defendants as the ones

  in the Powell case. In discarding the defendants’ request to have those allegations in the

  Amended Complaint stricken as “immaterial,” this Court eloquently wrote:

                   If the allegations are “immaterial, they simply do not matter;
                and the court need not be at pains to blot them away. Striking
                material from pleadings is permissive with, not mandatory for, the
                court. After all, it is the present policy of the trial courts of the
                United States not to root up cockle in the perilous time of
                sprouting, but rather to leave its elimination to the harvest season,
                when without loss or harm, it may be discarded and the good grain
                preserved as the substance of judgment.”

  Powell, 2006 U.S. Dist. LEXIS 76025 at *7-8 (citing Gas Consumers Ass’n v. Philadelphia Gas

  Works Co., 12 F.R.D. 125, 127 (D. Penn. 1951)). Here too, the Court need not “be at pains to




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  blot away” the allegations in Paragraph 30; as they are material to the instant controversy and

  cause no demonstrable prejudice to the WORLDPMX Defendants.

         B.      Paragraph 40

         Paragraph 40, which the WORLDPMX Defendants seek to have stricken as “having no

  bearing on the allegations raised in the Amended Complaint,” asserts the following:

                 Paragraph 40. Although Plaintiffs were unaware of it at the time,
                     an investigation of WORLDPMX in advance of filing this suit
                     has revealed that, prior to him telephonically soliciting
                     Plaintiffs, TALLO-WPMX was criminally convicted in the
                     State of Florida in 2004 for unlicensed telemarketing (Case
                     No. 04004948CF10D). TALLO-WPMX was incarcerated in
                     the State of Florida from September 14, 2004 until October 1,
                     2005.

         As explained above, it is hard to fathom why the WORLDPMX Defendants believe a

  portion of Paragraph 30 should be stricken.          It is equally hard, if not more difficult, to

  comprehend the WORLDPMX Defendants’ suggestion that the facts in Paragraph 40 relating to

  WORLDPMX’s utilization of a convicted telemarketing felon to conduct “cold call” solicitations

  of potential investors -- including Plaintiffs -- are not relevant to the instant dispute. As alleged

  in the Amended Complaint, that is how Plaintiffs were lured into DEFENDANTS’ scheme and

  was part-and-parcel of DEFENDANTS’ fraudulent operation. See, AC ¶ 39 (“In March 2012,

  Plaintiffs were contacted by a “cold call” from Roland “Joseph” Tallo (“TALLO-WPMX”) –

  who held himself out to be a representative of WORLDPMX – pitching investments in physical

  bullion (i.e., gold, silver, and platinum) as well as precious gems.”). While the WORLDPMX

  Defendants cite to Fed. R. Evid. 404(b)(1) as a basis for their request to have this allegation

  stricken from the Amended Complaint, that evidentiary rule applies to the trial presentation of

  the parties’ respective cases, not as a basis to strike a factual allegation from a pleading at the

  outset of litigation. The WORLDPMX Defendants’ argument on this point is misplaced, is



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  overstated, and provides no viable grounds upon which to strike the highly material allegations

  contained in Paragraph 40 of the Amended Complaint.

  VII.    CONCLUSION

          For the foregoing reasons,5 Plaintiffs respectfully request the Court deny WORLDPMX,

  IQD, and McCABE’s Motion to Strike and Motion to Dismiss the Amended Complaint [DE 33];

  and WORTH GROUP’s Motion to Dismiss the Amended Complaint [DE 35].



                                                                  Respectfully submitted,

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   With regard to any arguments raised in Defendants’ motions that are not specifically addressed herein, Plaintiffs do
  not concede or acquiesce to Defendants on those points. Plaintiffs simply rely on the strength and viability of the
  allegations as they have been set forth in the Amended Complaint without the need for further exposition.



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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the
  Clerk of Court on this 3rd day of October 2013 by using the CM/ECF system which will
  send a notice of electronic filing to the following CM/ECF participant(s): ANDREW N. COVE,
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